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                             IN THE UNITED         STATES DISTRICT        COURT            FILED
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Norfolk Division
                                                                                         MOV - 2 2018
SIR LORD ISMIAL HOLMES,                  #1489347,
                                                                                     CLERK. US DISTRICT COURT
                                                                                           NORFOLK. VA
                   Petitioner,



V   .                                                         C i v i l Action No.     2:18cvl89




HAROLD W.          CLARKE,      Director,
Virginia Department of Corrections,

                   Respondent.

                                              FINAL ORDER


         This matter was              initiated by petition for a                 writ of habeas

corpus under 28 U.S.C.                  § 2254.          Petitioner Sir Lord Ismial Homes

 ("Holmes" or "Petitioner") alleges that his state sentence is being

unlawfully executed by the Virginia Department of Corrections.                                      He

argues he has not received credit for time served while he was

awaiting trial,               and he asks the court to award him the credit he

claims        due.


         The petition was referred to a United States Magistrate Judge

for      report        and    recommendation pursuant               to the provisions         of    28

U.S.C.        §   636(b)(1)(B)         and   (C)   and Local Civil Rule 72 of the Rules

of      the   United         States    District      Court   for    the   Eastern    District       of


Virginia.              The Magistrate Judge's Report and Recommendation filed

October           2,    2018,        recommends         dismissal    of    the    petition      with

prejudice          as    Holmes'       claims      of    sentence    calculation      errors       are

time-barred             and     he    has    not    presented       evidence      sufficient        to
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overcome the bar for federal review.                         The Report and Recommendation

advised Petitioner of his right to object and the time limit for

doing so.         The court has received no objections, and the time for

filing objections has now expired.

       Accordingly,         the court does hereby accept the                        findings   and

recommendations set forth in the Report and Recommendation filed

October     2,    2018,   and      it   is     therefore         ORDERED    that    Respondent's

Motion to Dismiss            (ECF No.        15)        be GRANTED,     and that the petition

 (ECF No.   1)     be DENIED and DISMISSED with prejudice.

       Petitioner may appeal from the judgment entered pursuant to

this   Final Order by           filing        a    written notice         of   appeal   with the

Clerk of this court,            United States Courthouse,                   600 Granby Street,

Norfolk,    Virginia 23510,             within thirty            (30)   days from the date of

entry of such judgment.

       Petitioner has failed to demonstrate a substantial showing of

the denial of a constitutional right,                        therefore,     the Court declines

to issue any certificate of appealability pursuant to Rule 22(b)                                of

the    Federal      Rules     of    Appellate             Procedure.        See    Miller-El    v.

Cockrell,        123 S.Ct,    1029,      1039       (2003).

       The Clerk is directed to mail a copy of this Final Order to

Petitioner and to provide an electronic copy of the Final Order to

counsel of record for Respondent.




                                        MARK       S.    DAVIS
                                        UNITED          STATES   DISTRICT   JUDGE
Norfolk,    Virginia
November 2-, 2018
